Case 2:04-cV-02013-STA-egb Document 83 Filed 07/06/05 Page 1 of 3 Page|D 82

'Fn.£nergae/D.c.

IN THE UNITED STATES DlSTRICT COURT JuL _6 PH 32 21
FOR THE WESTERN DISTRlCT OF TENNESS

 

 

WESTERN DIVISION ll.'lOM*\S ill GOU.D
crest us »WTCO\W
) wm L;+ st F-'<i¢rriib
MARILYN JOI-INSON, et al., )
)
Plaintiffs, ) Case Nos: 00-2608 D P
) 04-2017 D P
)
vs. )
)
CITY OF MEMPHIS, )
)
Defendant. )
)
FLORENCE BILLINGSLEY, et al., )
)
Plaintiffs, )
) /
vs. ) Case No.: 04-2013 D A
)
CITY OF MEMPHIS, )
)
Defendant. )

 

ORDER ESTABLISHING ORDER OF PROOF FOR TRlAL PURPOSES

 

The parties in this case appeared before the Court on July l, 2005, for a scheduling
conference Among other matters, the parties argued regarding the order of proof and acknowledged
certain burden shifting standards inherent in the trial. lt appears that the Court has ruled on a number
of issues in summary judgment orders which may shift the burden of persuasion or the burden of

production in certain instances.

Having considered the case matter as a whole, and considering that this is a non-jury trial,

  
 

the Court hereby orders that the plaintiffs Will present their proof flrst, followed by a presenta "

Thls document entered on the docket sh

0 FJ
wlth Hule 58 and/or 79(3) FRCP on

Case 2:04-cV-02013-STA-egb Document 83 Filed 07/06/05 Page 2 of 3 Page|D 83

of the defendant’s proof, except that on the matter of expert proof, the plaintiffs may present its
rebuttal expert proof after the defendant has presented its case, including its expert witnesses Thus,
the order of proof will proceed as a traditional trial with the plaintiff presenting its case in chief first,
followed by the defendant’s presentation of its case in chief, followed by the plaintiff’ s rebuttal
proof. The Court will sort out and address the shifting burdens as it prepares its merits decision

IT ls so oRDERED Q““" day orJuiy, 2005.

   
 

ERNICE B. DONALD
TED STATES DISTRICT JUDGE

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:04-CV-02013 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Sharon Harless Loy

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Aaron R. Parker

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis

254 Court Ave.
Second Floor
1\/lemphis7 TN 38103

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

David 1\/1. Sullivan

LAW OFFICES OF DAV]D M. SULLIVAN
3251 Poplar Ave.

Ste. 130

1\/lemphis7 TN 38111

Honorable Bernice Donald
US DISTRICT COURT

